Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 1 of 7 PagelD# 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

LAUREN K. CHARBONNEAU,
Plaintiff, Civil Action No: 1:16-cv-

Vv.

PL DULLES LLC
a Delaware Limited Liability Company,

Defendant.

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COMPLAINT

Plaintiff, Lauren K. Charbonneau, by and through her undersigned counsel, hereby files
this Complaint against PL Dulles LLC, a Delaware Limited Liability Company, seeking
injunctive relief, attorneys’ fees and costs for violations of the Americans with Disabilities Act,
42 U.S.C. §§ 12181, et seg., and damages for violations of the law of the Commonwealth of
Virginia. In support of her allegations, Plaintiff states as follows:

JURISDICTION AND PARTIES
1. This is an action for declaratory and injunctive relief pursuant to Title III of the
Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq. (the “ADA.”) The Court is vested
with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. The Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. § 1367(a).

Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 1
Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 2 of 7 PagelD# 2

2, Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

property that is the subject of this action is located in the City of Sterling, Virginia.

3. Plaintiff Lauren K. Charbonneau (“Ms. Charbonneau”) is a resident of the State of
West Virginia.
4, Ms. Charbonneau is a qualified individual with a disability as the term is defined

by and within the meaning of the ADA. Ms. Charbonneau suffers from spondylosis, degenerative
disc disease throughout her neck and back, and several bulging discs. Additionally, Plaintiff has
suffered severe brain injuries that have limited her ability to walk, stand, and balance. These
conditions require her to use a cane and/or scooter to ambulate safely.

S. Due to her disability, Plaintiff is substantially impaired in several major life
activities such as walking and standing.

6. Upon information and belief, PL Dulles LLC (“PL Dulles” or “Defendant”) is a
Delaware Limited Liability Company and is the owner, lessor, and/or operator of the place of
public accommodation including the real property and improvements which are the subject of this
action (the “Property.”’)

7. The Property is known as Dulles Town Crossing; it is generally located at 45575
Dulles Eastern Plaza, Sterling, Virginia 20166.

8. The Defendant is registered to conduct business within the Commonwealth of
Virginia through the Virginia State Corporation Commission and maintains a registered agent in

this jurisdiction for the purpose of accepting service of process.

Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 2
Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 3 of 7 PagelD# 3

9. Defendant is responsible for complying with all applicable obligations of the
ADA.
10. Ail events giving rise to this lawsuit occurred within the jurisdiction of the
Eastern District of Virginia.
COUNT I
VIOLATION OF TITLE III OF THE ADA

11. The allegations set forth in the paragraphs above are incorporated by reference as
if fully set forth in this count.

12. The Property is a place of public accommodation and is therefore subject to Title
Ill of the ADA.

13. | Ms. Charbonneau visited the Property and plans to return to the Property in the
near future. She expects to visit the Property 2-3 times a year.

14. | Ms. Charbonneau lives in nearby Charles Town, West Virginia and her work
requires her to travel to the northern Virginia area several times a month.

15. During the visit, Ms. Charbonneau experienced serious difficulty accessing the
goods and utilizing the services on the Property due to the architectural barriers described in this
Complaint and specifically in Paragraph 18.

16. Ms. Charbonneau wants to visit the Property but continues to experience serious
difficulty as the result of the barriers described below, all of which exist at the time of this filing.

17. Ms. Charbonneau plans to and will visit the Property once the barriers described

in Paragraph 18 and any other barriers have been removed.

Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 3
Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 4 of 7 PagelD# 4

18. Defendant discriminated and continues to discriminate against Plaintiff in
violation of 42 U.S.C. §§ 12181, et seq., and 28 C.F.R. §§ 36.302, ef seq., by excluding and/or
denying Plaintiff the benefits of the goods and services located on the Property by failing to
provide and/or correct the following barriers to access which Plaintiff personally observed,
encountered, and which hindered her access:

A. Plaintiff encountered inaccessible parking due to excessive long slopes,
lack of proper access aisles, and lack of signage at parking spaces
designated as accessible which caused her difficulty locating the spaces
and exiting her vehicle; and

B. Plaintiff encountered inaccessible curb ramps throughout the Property due
to excessive slopes, steep side flares, and lack of level landings at top of
ramps, which caused her difficulty in traversing the ramps; and

C. Plaintiff encountered inaccessible routes throughout the Property due to
excessive slopes and lack of handrails which caused her difficulty in
traversing the routes.

19. As of the date of this filing, the readily achievable barriers and other violations of
the ADA exist. They have not been remedied or altered in such a way as to effectuate
compliance with the applicable provisions of the ADA and Plaintiff expects and will encounter

the same issues until they are removed.

Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 4
Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 5 of 7 PagelD# 5

20. Independent of her intent to return to the Property as a patron, Plaintiff intends to
return to the Property as an ADA tester to determine whether the barriers to access in this
Complaint have been remedied.

21. Removal of the barriers to access located on the Property is readily achievable,
reasonably feasible and easily accomplishable without placing an undue burden on the
Defendant.

22. | Removal of the barriers to access located on the Property will allow Plaintiff to
fully utilize the goods and services located on the Property.

23. The Plaintiff was obligated to retain the undersigned counsel for filing and
prosecution of this action. The provisions of 42 U.S.C. § 12205 entitle Plaintiff to seek from
Defendant and receive payment for reasonable attorneys’ fees, costs, and expenses of this action.

COUNT IE
STATE LAW CLAIM

24. ‘Plaintiff re-alleges and incorporates into this cause of action each and every
allegation contained in the previous paragraphs of this Complaint.

25. Defendant’s Property is a place of public accommodation under Code of Virginia,
§ Section 51.5-44.

26. The architectural barriers and other accessibility barriers constitute an ongoing act
of discrimination against the Plaintiff as a person with a disability in violation of Section 51.5-44

of the Code of Virginia.

Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 5
Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 6 of 7 PagelD# 6

27. Asa direct and proximate result of Defendant’s intentional and negligent failure
to remove barriers to access that exist on Defendant’s property, Plaintiff was and continues to be
denied access and her civil rights were and continue to be violated.

28. Consequently, Ms. Charbonneau seeks monetary damages from Defendant
pursuant to Code of Virginia, § 51.5-46 for the discrimination he experienced and continues to
experience.

PRAYER FOR RELIEF

WHEREFORE, Lauren Charbonneau demands judgment and execution against
Defendant and requests the Court provide the following injunctive and declaratory relief:

A. Declare the Property owned and administered by Defendant is in violation of the

Americans with Disabilities Act;

B. Enter an order directing Defendant to alter its facilities on the Property to make
them accessible to and useable by individuals with disabilities to the full extent
required by Title III of the Americans with Disabilities Act;

C. Enter an order directing Defendant to evaluate and neutralize its policies and
procedures toward persons with disabilities for such reasonable time so as to
allow Defendant to undertake and complete corrective procedures;

D. Issue a Declaratory Judgment that Defendant violated the Virginia Rights of

Persons with Disabilities Act;

Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 6
Case 1:17-cv-O0666-LMB-MSN Document1 Filed 06/13/17 Page 7 of 7 PagelD# 7

E, Order Defendant to alter the Property to make the facilities accessible to and
usable by individuals with disabilities to the extent required by the Virginia
Statewide Building Code;

BF. Award Plaintiff monetary damages from the Defendant pursuant to Code of
Virginia § 51.5-46;

G. Award to the Plaintiff reasonable attorneys’ fees, costs (including expert fees),
and other expenses of this action; and

H. Award Plaintiff such other additional and proper relief as may be just and

equitable.

LAUREN K. CHARBONNEAU,

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Lauren K. Charbonneau v. PL Dulles LLC
Complaint
Page 7
